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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                            PINE BLUFF DIVISION

CHARLES E. HAMNER,
ADC #143063                                                                    PLAINTIFF

V.                           CASE NO. 5:17-CV-00079 JLH/BD

DANNY BURLS, et al.                                                         DEFENDANTS



            INITIAL ORDER FOR PRO SE PRISONER-PLAINTIFFS

      You have filed this federal civil rights lawsuit pro se, that is, without the help of a

lawyer. There are rules and procedures that you must follow in order to proceed with

your lawsuit, even though you are not a lawyer.

      First: Follow All Court Rules. You must comply with the Federal Rules of Civil
      Procedure as well as Local Rules for the Eastern District of Arkansas. Copies of
      rules can be found in the prison library.

      In particular, Local Rule 5.5(c)(2) explains requirements for plaintiffs, like you,
      who are not represented by a lawyer:

             1.     You must promptly notify the Clerk and the other parties in the case
                    of any change in address. You must inform the Court if you are
                    transferred from one unit to another. Notifying the Court of your
                    change in address is especially important if you are released from
                    custody while your lawsuit is pending. If you do not keep the Court
                    informed as to your current address, your lawsuit can be dismissed.
             2.     You must monitor the progress of your case and prosecute the case
                    diligently.
             3.     You must sign all pleadings and other papers filed with the Court,
                    and each paper you file must include your current address.
             4.     If you fail to timely respond to a Court Order directing action on
                    your part, the case may be dismissed, without prejudice.
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      Second: Pay the Filing Fee. Every civil case filed by a prisoner – including this
      one – requires the plaintiff to pay a filing fee either at the beginning of the lawsuit
      or, if he cannot afford to pay the entire $350 fee in a lump sum, to apply to proceed
      in forma pauperis (“IFP”) and pay the filing fee in monthly installments. You
      have filed an application to proceed IFP and submitted all necessary documents.
      Your IFP motion (docket entry #1), therefore, is GRANTED.

      Based on balances in your prison trust account, the Court assesses an initial partial
      payment of $11.70. Your custodians are obligated to remit the initial payment and
      to collect the balance of the $350.00 filing fee by deducting monthly payments
      equal to 20% of the preceding month’s income credited to your prison trust
      account each time the amount in the account exceeds $10.00. The entire $350.00
      filing fee must be paid, even if the lawsuit is dismissed before trial. Your
      custodian should clearly identify monthly payments by the name and number
      assigned to this action.

      Third: No Right to Appointed Counsel. This is a civil case. Unlike criminal
      cases, there is no right to have an appointed lawyer in a civil case. If your case
      proceeds to a jury trial, however, a lawyer will be appointed to assist you before
      trial.

      Fourth: Do Not File Your Discovery Requests. Discovery requests, such as
      interrogatories and requests for documents, are not to be filed with the Court.
      Instead, discovery requests should be sent to counsel for the defendant (or directly
      to the defendant if he or she is not represented by a lawyer). No discovery should
      be sent to a defendant until after that defendant has been served with the
      complaint.

      Fifth: Do Not Send Documents to Court Except in Two Situations. You may
      send documents or other evidence to the Court only if attached to a motion for
      summary judgment or in response to a motion for summary judgment; or if the
      Court orders you to send documents or other evidence.

      Sixth: Provide a Witness List. If your case is set for trial, as your trial date
      approaches, you will be asked to provide a witness list. After reviewing the
      witness list, the Court will subpoena necessary witnesses.

      The Clerk of the Court is directed to send a copy of this Order to the Arkansas

Department of Correction Trust Fund Centralized Banking Office, P.O. Box 8908, Pine

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Bluff, Arkansas 71611, the Arkansas Department of Correction Compliance Division,

P.O. Box 20550, Pine Bluff, Arkansas 71612, and the Warden of the Varner Supermax,

Post Office Box 400, Grady, Arkansas 71644.

      IT IS SO ORDERED, this 28th day of March, 2017.


                                       ___________________________________
                                       UNITED STATES MAGISTRATE JUDGE




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